     Case 17-01013-dd              Doc 89       Filed 03/06/19         Entered 03/06/19 07:00:05                Desc Debtor
                                                Education Ntc          Page 1 of 1
                                                 United States Bankruptcy Court
                                                    District of South Carolina


Case Number: 17−01013−dd                                            Chapter: 7

In re:
 Tammy Louise Yoho
 aka Tammy Black
                                                                                                            Filed By The Court
                              NOTICE OF REQUIREMENT TO FILE CERTIFICATION ABOUT A                                 3/6/19
                                FINANCIAL MANAGEMENT COURSE (Official Form B423)                              Laura A. Austin
                                                                                                               Clerk of Court
                                                                                                            US Bankruptcy Court



Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in personal financial
management in order to receive a discharge under chapter 7 (11 U.S.C. § 727). Pursuant to the local rules of this Court, the
debtor(s) must complete and file the Certification About a Financial Management Course (Official Form B423) as described in 11
U.S.C. § 111.

Debtor(s) and/or debtor's(s') attorney is/are hereby notified that the debtor(s) must file the Official Form B423 within 14 days
after the date of this notice. Failure to file the certification may result in the case being closed without an entry of discharge.



                                                                                 Laura A. Austin
                                                                                 Clerk of Court
                                                                                 United States Bankruptcy Court

                                                                                 By: Admin, Deputy Clerk
                                                                                 1100 Laurel Street
                                                                                 Columbia, SC 29201−2423
                                                                                 (803) 765−5436
